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    1    CENTER FOR DISABILITY ACCESS
         Raymond Ballister Jr., Esq., SBN 111282
    2    Russell Handy, Esq., SBN 195058
    3
         Dennis Price, Esq., SBN 279082
         Amanda Seabock, Esq., SBN 289900
    4    Mail: 8033 Linda Vista Road, Suite 200
         San Diego, CA 92111
    5    (858) 375-7385; (888) 422-5191 fax
         amandas@potterhandy.com
    6    Attorneys for Plaintiff
    7    MARC A. COLLINS (SBN: 136769)
         AZIM KHANMOHAMED (SBN: 277717)
    8    akhan@collinskhan.com
         R. MICHAEL COLLUM (SBN: 145105)
    9    COLLINS & KHAN LLP
   10    3435 Wilshire Blvd., Ste. 2600
         Los Angeles, CA 90010-2246
   11    Telephone: (323) 549-0700
         Facsimile: (323) 549-0707
   12    Attorneys for Defendant
         Norina Properties, LLC
   13
   14                          UNITED STATES DISTRICT COURT
   15                         CENTRAL DISTRICT OF CALIFORNIA
   16    MARTIN VOGEL,                          Case: 2:20-cv-04990-FMO-MRW
   17            Plaintiff,
                                                JOINT STIPULATION FOR
   18      v.                                   DISMISSAL PURSUANT TO
   19    NORINA PROPERTIES, LLC, a              F.R.CIV.P. 41 (a)(1)(A)(ii)
         California   Limited    Liability
   20    Company; and Does 1-10,
   21            Defendants.
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        Joint Stipulation for Dismissal            Case: 2:20-cv-04990-FMO-MRW
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    1                                     STIPULATION
    2
    3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
    4   between the parties hereto that this action may be dismissed with prejudice
    5   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
    6   This stipulation is made as the matter has been resolved to the satisfaction of
    7   all parties.
    8
    9   Dated: June 28, 2021               CENTER FOR DISABILITY ACCESS
   10
                                           By: /s/Amanda Seabock
   11                                            Amanda Seabock
                                                 Attorneys for Plaintiff
   12
   13   Dated: June 28, 2021               COLLINS & KHAN LLP
   14                                      By: /s/Azim Khanmohamed
                                                 Marc A. Collins
   15                                            Azim Khanmohamed
   16                                            R. Michael Collum
                                                 Attorneys for Defendant
   17                                            Norina Properties, LLC
   18
   19
                             SIGNATURE CERTIFICATION
   20   I hereby certify that the content of this document is acceptable to Azim
   21   Khanmohamed, counsel for Norina Properties, LLC , and that I have
   22   obtained Mr. Khanmohamed’s authorization to affix his electronic signature
   23   to this document.
   24
   25   Dated: June 28, 2021               CENTER FOR DISABILITY ACCESS
   26
   27                                      By: /s/Amanda Seabock
                                                 Amanda Seabock
   28                                            Attorneys for Plaintiff

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        Joint Stipulation for Dismissal                 Case: 2:20-cv-04990-FMO-MRW
